O AO 247 (N C/W 11/11) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the
                                                        Western District of North Carolina

                     United States of America
                                v.                                          )
                            Damion Miller                                   ) Case No:     3:05CR339-04
                            a/k/a "D-Moe"                                   ) USM No:      21525-058
Date of Original Judgment:     April 13, 2007                               )
                               September 16, 2008                           )
Date of Last Amended Judgment: (SEALED)                                     ) Ross Richardson
                                                                                Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of                   is reduced to

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Original Offense Level:    42                 Amended Offense Level:     42
Criminal History Category: III                Criminal History Category: III
Original Guideline Range:  360 months to life Amended Guideline Range: 360 months to life
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
 The reduced sentence is above the amended guideline range.
 Other (explain):  Due to the cross-reference to §2A1.1 (First Degree Murder) in Count One, there is no change in the
                    guideline calculations. The application of Amendment 750 provides no change in the guideline
                    calculations in this case.



III. ADDITIONAL COMMENTS
The defendant was also convicted in Count Two of Use, Carry, and Possess a Firearm During and in Relation
to a Drug Trafficking Crime and Causing the Death of a Person Through Use of a Firearm and Aiding and
Abetting Same, which resulted in a 120 month, concurrent, sentence to Count One of this Indictment.
Except as provided above, all provisions of the judgment dated                      April 13, 2007,        shall remain in effect.
IT IS SO ORDERED .

Order Date:          February 14, 2012


Effective Date:
                       (if different from order date)


                   Case 3:05-cr-00339-FDW                        Document 268             Filed 02/14/12      Page 1 of 1
